                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                     2021-NCCOA-692

                                        No. COA21-221

                                  Filed 21 December 2021

     Buncombe County, No. 20 CVS 1264

     DAVID RUSSELL ROBERSON, Plaintiff,

                 v.

     TRUPOINT BANK, Defendant.


           Appeal by plaintiff from order entered 4 November 2020 by Judge Marvin P.

     Pope in Buncombe County Superior Court.       Heard in the Court of Appeals 17

     November 2021.


           Asheville Legal, by Annabelle M. Chambers and Jake A. Snider, and Robinson
           &amp; Lawing, LLP, by H. Brent Helms, for plaintiff-appellant.

           McGuire, Wood &amp; Bissette, PA, by Joseph P. McGuire, for defendant-appellee.


           TYSON, Judge.


¶1         David Roberson (“Plaintiff”) appeals an order by the trial court granting

     TruPoint Bank’s (“Defendant”) motion for judgment on the pleadings. We affirm.

                                   I.     Background

¶2         Plaintiff was self-employed in real estate management. He owned and

     managed two rental homes in North Carolina and a commercial property located in

     Alabama.   Plaintiff was in the process of purchasing a residential property in
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     Washington, D.C.

¶3         Plaintiff approached Defendant to apply for a home equity line of credit

     (“HELOC”) for the Washington D.C. home purchase in early May 2019. Plaintiff

     withdrew $670,000 from his Individual Retirement Account (“IRA”) to fund the

     purchase of the real property on 9 May 2019, based upon asserted assurances from

     Defendant’s loan officer that the loan would be approved. Plaintiff applied for the

     loan from Defendant to give himself an option for replacing funds from the IRA

     withdrawal within the sixty-day grace period. Plaintiff understood that if he did not

     replace the IRA funds within sixty days, the withdrawal would be treated as ordinary

     income, and he would incur substantial tax penalties and liability.

¶4         Plaintiff submitted his loan application to Defendant on 13 May 2019. The

     loan application asserted Plaintiff maintained liquid assets of $930,000 and owned

     real properties valued at $2,675,000. Plaintiff informed Defendant of the sixty-day

     deadline and that he would incur a substantial tax consequence if Plaintiff did not

     timely replace the withdrawn IRA funds.

¶5         Defendant’s loan officer informed Plaintiff that he had applied for a residential

     loan on his primary residence, and not technically a HELOC.           Two days later,

     Defendant’s loan processor informed Plaintiff that the confusion over the loan he had

     applied for had been rectified. Defendant advised Plaintiff that its underwriter would

     not approve the HELOC on 13 June 2019.
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¶6         Defendant’s loan officer offered to make Plaintiff a $670,000 residential

     mortgage loan on 17 June 2019.           Plaintiff declined this loan because the offer

     purportedly required Plaintiff to commit to the loan within seven hours of receiving

     the offer and the loan was subject to unwanted conditions.

¶7         Defendant informed Plaintiff his HELOC had not closed because of an

     incomplete loan application and because Defendant did not make HELOC loans in

     excess of $250,000. Plaintiff brought this action for negligent misrepresentation and

     fraud to recover the damages he had incurred. The trial court granted Defendant’s

     motion for judgment on the pleadings. Plaintiff appeals.

                                     II.      Jurisdiction

        Plaintiff’s appeal is properly before this Court pursuant to N.C. Gen. Stat. § 7A-

     27(b) (2019).

                                           III.    Issue

¶8         Plaintiff argues the trial court erred in granting Defendant’s motion for

     judgment on the pleadings.

                                     IV.          Argument

                                   A. Standard of Review

¶9         “This Court reviews de novo a trial court’s ruling on motions for judgment on

     the pleadings. Under a de novo standard of review, this Court considers the matter

     anew and freely substitutes its own judgment for that of the trial court.” N.C.
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       Concrete Finishers, Inc. v. N.C. Farm Bureau Mut. Ins. Co., 202 N.C. App. 334, 336-

       337, 688 S.E.2d. 534, 535 (2010) (citations omitted).

                                   B. Judgment on the Pleadings

¶ 10         Plaintiff’s allegations and any permissible inferences thereon must be treated

       as true and viewed in the light most favorable to the non-moving party. Ragsdale v.

       Kennedy, 286 N.C. 130, 137, 209 S.E.2d 494, 499 (1974). “[A]ll contravening

       assertions in the movant’s pleadings are taken as false.” Id.
¶ 11         If any material issue of fact exists or if defendant is not clearly entitled to

       judgment as a matter of law, the trial court errs by granting defendant’s motion. Id.
       A judgment on the pleadings is final, and each “motion must be carefully scrutinized

       lest the nonmoving party be precluded from a full and fair hearing on the merits.” Id.
                              V.     Negligent Misrepresentation

¶ 12         “[T]he tort of negligent misrepresentation occurs when a party justifiably relies

       to his detriment on information prepared without reasonable care by one who owed

       the relying party a duty of care.” Bob Timberlake Collection, Inc. v. Edwards, 176

       N.C. App. 33, 40, 626 S.E.2d 315, 321 (2006) (citation omitted).

¶ 13         Our Supreme Court clearly stated: “[g]enerally, the home loan process is

       regarded as an arm’s length transaction between parties of equal bargaining power

       and, absent exceptional circumstances, will not give rise to a fiduciary duty.” Dallaire

       v. Bank of Am., N.A., 367 N.C. 363, 364, 760 S.E.2d 263, 264 (2014).
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¶ 14         “[A] lender is only obligated to perform those duties expressly provided for in

       the loan agreement to which it is a party.” Camp v. Leonard, 133 N.C. App. 554, 560,

       515 S.E.2d 909, 913 (1999). In the absence of a binding loan agreement, Defendant

       owes no duty to Plaintiff. See Lassiter v. Bank of N.C., 146 N.C. App. 264, 268, 551

       S.E.2d 920, 923 (2001) (lender owed borrower no duty to inspect house being

       built with loan proceeds); Perry v. Carolina Builders Corp., 128 N.C. App. 143, 150,

       493 S.E.2d 814, 818 (1997) (lender owed no duty to ensure loan proceeds were used

       for a specific purpose in the absence of an express contract provision); Carlson v.

       Branch Banking &amp; Trust Co., 123 N.C. App. 306, 315, 473 S.E.2d 631, 637 (1996)

       (defendant bank was entitled to a directed verdict on a noncustomer’s claim of the

       bank’s negligent disbursement of loan funds).

¶ 15         Plaintiff was a first-time loan applicant with Defendant and never became a

       borrower or customer of Defendant.     The loan process was a professional business

       negotiation in which Defendant had no obligation to look out for Plaintiff’s interests,

       especially given that Plaintiff was an experienced real estate investor. Plaintiff

       argues Defendant informed him he had applied for a residential loan on his primary

       residence, “and not technically a HELOC,” even though he had allegedly made it clear

       to Defendant he wanted a HELOC.           Plaintiff incorrectly presumes Defendant

       incurred a legal duty to ensure he understood the loan application that he signed. See

       Lassiter, 146 N.C. App. at 268, 551 S.E.2d at 923. See also Raper v. McCrory-McLellan
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       Corp., 259 N.C. 199, 204, 130 S.E.2d 281, 284 (1963) (stating “[t]he standard is always

       the conduct of the reasonably prudent man. The rule is constant, while the degree of

       care which a reasonably prudent man exercises, or should exercise, varies with the

       exigencies of the occasion.” (citations omitted).

¶ 16         The loan negotiations did not reach final agreement, and no binding obligation

       was executed of which an actual borrower might complain. Plaintiff acknowledges

       any lack of full and fair disclosure by Defendant was corrected during the parties’

       negotiations. Reviewed in the light most favorable to Plaintiff, Defendant “rectified”

       any confusion and provided Plaintiff with “an additional document to sign for a

       HELOC, which [Plaintiff] signed.” Upon rectifying its “mistakes,” Defendant offered

       Plaintiff a conventional residential loan for the amount he needed, which Plaintiff

       declined.

¶ 17         This Court has affirmed entry of summary judgment for a defendant upon a

       negligent representation claim, after finding no genuine issues of material facts

       concerning the essential elements of duty of care, breach of duty, and any justifiable

       reliance. Jordan v. Earthgrains Cos., 155 N.C. App. 762, 766, 576 S.E.2d 336 (2003).

       There, “the plaintiffs and defendants were not engaged in a business transaction.” Id.

       at 768, 576 S.E.2d at 340. There, as here, the plaintiff argued “even if [defendant]

       was ‘under no duty to speak, when he did speak, he was under a duty to give

       competent information and plaintiffs were justified in relying on [defendant’s]
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       statements.” Id. at 767, 575 S.E.2d at 339.

¶ 18         This Court expressly disagreed with that assertion. The plaintiff in Jordan

       failed to show: (1) defendant was offering plaintiffs “guidance in a business

       transaction;” (2) the alleged information was false; (3) “defendants had a pecuniary

       interest in inducing plaintiffs to continue employment;” or, (4) “plaintiffs were

       justified in relying on the alleged information.” Id. at 767, 576 S.E.2d at 340. Here,

       like in Jordan, Plaintiff has failed to allege facts to support his claim for negligent

       misrepresentation. His arguments are overruled.

                     VI.   Failure to Allege Fraud with Particularity

¶ 19         Rule 9(b) of the North Carolina Rules of Civil Procedure requires “[i]n all

       averments of fraud . . . the circumstances constituting fraud . . . shall be stated with

       particularity.” N.C. Gen. Stat. § 1A-1, Rule 9(b) (2019). “[I]n pleading actual fraud,

       the particularity requirement is met by alleging time, place[,] and content of the

       fraudulent representations.” Terry v. Terry, 302 N.C. 77, 85, 273 S.E.2d 674, 678
       (1981). Dismissal of a claim for failure to plead with particularity is proper where

       “no facts whatsoever setting forth the time, place, or specific individuals who

       purportedly made the misrepresentations[.]” Coley v. Bank, 41 N.C. App. 121, 125,

       254 S.E.2d 217, 220 (1979).

¶ 20         Plaintiff alleges Defendant assured him on “repeated occasions” that his loan

       “would go through.” He fails to allege when and where those assurances were made.
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       Plaintiff also alleges both Defendant and its loan officer had encouraged him to apply

       for a $750,000 HELOC.         Plaintiff fails to allege when, where and how such

       encouragement occurred.      Such allegations are insufficient to allege fraud with

       particularity as is required by Rule 9(b). Plaintiff’s arguments are overruled.

                                   A. Defendant’s Assurances

¶ 21         Plaintiff argues Defendant was negligent in its verbal assurances of the loan

       amount and timeline. Even broadly construed in the light most favorable to Plaintiff,

       his complaint fails to allege any specific misrepresentation of a subsisting or

       ascertainable fact. Defendant’s purported assurances that a “loan would go through”

       relate to prospective events and are insufficient to state a claim for fraud. See Moore

       v. Trust Co., 30 N.C. App. 390, 391, 226 S.E.2d 833, 835 (1976) (“[m]ere generalities

       and conclusory allegations of fraud will not suffice.”). Plaintiff’s claims for negligent

       misrepresentation have no merit and are overruled.

                                              B. Fraud

¶ 22         Plaintiff’s complaint asserts a claim of fraud against Defendant. “The elements

       of a civil cause of action for fraud are (1) a false representation or concealment of a

       material fact (2) that is reasonably calculated to deceive (3) made with intent to

       deceive (4) which does in fact deceive and (5) results in damage to the injured

       party.” Charlotte Motor Speedway, LLC v. Cnty. of Cabarrus, 230 N.C. App. 1, 10, 748

       S.E.2d 171, 178 (2013) (citation omitted). A claim for fraud may be based either upon
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       an “affirmative misrepresentation of a material fact, or a failure to disclose a material

       fact relating to a transaction which the parties had a duty to disclose.” Hardin v. KCS

       Int’l, Inc., 199 N.C. App. 687, 696, 682 S.E.2d 726 (2009) (citation omitted).

¶ 23         In Hoyle v. Bagby, 253 N.C. 778, 781, 117 S.E.2d 760, 762 (1961), our Supreme

       Court stated, “[t]he promise at the time made was for a future fulfillment. It may

       have been made in good faith. The promise to pay was not based on any false

       statement of an existing fact. The complaint falls short of alleging fraud.”

¶ 24         Here, “[t]he promise to [loan] was not based on any false statement of an

       existing fact.” Id. Plaintiff fails to allege the materiality of a HELOC. There is no

       allegation of why he required a HELOC to repay funds into his IRA. Plaintiff fails to

       allege any substantive basis for his rejection of the conventional loan he was offered.

       He alleges he was given only seven hours to decide whether to accept Defendant’s

       offer and asserts the proposed loan was subject to onerous conditions. Given his past

       conversations and negotiations with Defendant, Plaintiff fails to allege why he

       reasonably could not review and commit within seven hours, or what other “onerous

       conditions” were attached to the loan.

                                        VII.    Reliance

¶ 25         “[W]here the facts are insufficient as a matter of law to constitute reasonable

       reliance on the part of the complaining party, the complaint is properly dismissed

       under Rule 12(b)(6).” Stunzi v. Medlin Motors, Inc., 214 N.C. App. 332, 341, 714
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       S.E.2d 770, 777 (2011) (citation omitted).

¶ 26           Plaintiff is an experienced real estate professional, who has bought, sold,

       owned, and financed several properties. Plaintiff owned assets worth several millions

       of dollars. Plaintiff allegedly relied upon conversations with a lender, with whom he

       had no previous relationship to make a significant financial decision, before applying

       for a loan. Plaintiff could not conceivably place reasonable reliance upon a loan

       officer’s forecasts that his “loan would go through” or that it would close by a certain

       date.

¶ 27           According to Plaintiff, Defendant’s assurances that his “loan would go through”

       were made before he withdrew his IRA funds, but key and essential loan terms

       remained unresolved, including the length, the interest rate, applicable fees, the

       repayment schedule, and the other material conditions of the loan.            No final

       agreement or binding commitment had been reached. As an experienced property

       owner, Plaintiff knew or should have known, the essential material terms of the loan

       had not been agreed to and no final agreement had been reached.              Plaintiff’s

       complaint fails to show any justifiable reliance as a matter of law.         Plaintiff’s

       argument is overruled.

                                     VIII.     Conclusion

¶ 28           Plaintiff’s allegations show no duty of care owed by Defendant, no fiduciary

       relationship, no more than verbal assurances of future loan approval, no intent to
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defraud, and no reasonable reliance as a matter of law. When the allegations are

viewed in the light most favorable to Plaintiff, giving him the benefit of all inferences

thereon, the trial court’s entry of judgment on the pleadings for Defendant on

Plaintiff’s claims was proper and is affirmed. It is so ordered.

      AFFIRMED.

      Judges DIETZ and GRIFFIN concur.
